Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 1 of 15




EXHIBIT A



                                                      EXHIBIT A
                                                         EXHIBIT A - 000004
       Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 2 of 15
                                                                      CT Corporation
                                                       Service of Process Notification
                                                                                                                 02/15/2023
                                                                                                    CT Log Number 543232508


Service of Process Transmittal Summary

TO:       Maria Padilla
          Kimberly Clark Corp.
          2100 County Road II
          Neenah, WI 54956-1860

RE:       Process Served in California

FOR:      Kimberly-Clark Corporation (Domestic State: DE)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                         Re: Kim Christiansen // To: Kimberly-Clark Corporation

CASE #:                                  22CV019279

NATURE OF ACTION:                        Personal Injury

PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

DATE/METHOD OF SERVICE:                  By Process Server on 02/15/2023 at 11:36

JURISDICTION SERVED:                     California

ACTION ITEMS:                            CT has retained the current log, Retain Date: 02/15/2023, Expected Purge Date:
                                         02/20/2023

                                         Image SOP

                                         Email Notification, Kimberly Clark Legal Served._Legaldocuments@kcc.com

                                         Email Notification, Maria Padilla maria.padilla@kcc.com

REGISTERED AGENT CONTACT:                C T Corporation System
                                         330 N BRAND BLVD
                                         STE 700
                                         GLENDALE, CA 91203
                                         866-665-5799
                                         SouthTeam2@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1


                                                                                                         EXHIBIT A - 000005
                 Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 3 of 15



                                                                  O.Wolters Kluwer

                              PROCESS SERVER DELIVERY DETAILS



Date:                                         Wed, Feb 15, 2023
Server Name:                                  Eruvey Diaz




 Entity Served                   KIMBERLY-CLARK CORPORATION

 Case Number                     22cv019279

 J urisdiction                   CA



                                                   Inserts




                                                                          EXHIBIT A - 000006
                     Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 4 of 15

                                                                                                                                                   SUM-100
                                           SUMMONS                                                                   (
                                                                                                                        FOR COURT USE ONLY
                                                                                                                      SOLO PARS USO DEIA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                     ELECTRON IC ALLY FILED
 Kimberly-Clark Corporation; Target Corporation; Does 1 to 21                                                 Superior Court of California
                                                                                                                 County of Alameda
                                                                                                                     10/11/2022
YOU ARE BEING SUED BY PLAINTIFF:                                                                         Ched        .           c       'CratatSio Court
(LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                           By.                 G. Fu                Deputy
Kim Christiansen



  NOTICE, You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinto.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money,and property
   may be taken without further warning from the court
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site(www.lawhelpcalifomia.org), the California Courts Online Seff-Help Center
 (www.courtinfo.ca.goviselthelp), or by contacting your local court or county bar association. NOTE:The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more Ins civil case. The court's lien must be paid before the court will dismiss the case.
  rAVISOI Lo hen demendado. Si no responds dentro de 30 dies, la cone puede decidir en su contra sin escuchar su version. Lea la informed& a
  contInuadon.
     Tiene 30 DlAS DE CALENDARIO despots de qua le entnsguen esta diadem y papeles legates pare presenter una respuesta por escrtto on este
  colt& y hacerque se entrague una copla al demandante. Una carte o una Hamada telatonice no to protegen. Su respueste par escrito bens quo ester
  en format° legal correcto si desea quo procesen su caso en is code. Es posIble qua hays un formulario quo usted puede user pans su respuesta.
  Puede encontrar estos formularts de la cone y mes InforrnaciOn en el Centro de Ayuda de las Cortes de California (eoww.sucorte.ca.gov), en la
  blbliotece de leyes de su condado o onto code quote quede ram cerca. Sine puede pagerla cuota de presentacien, Oda of secretark de la carte
  quo Is de un formularlo de exendon de papa de cuotas. Si no presents su respuesta a tiempo, puede perder of caso par incumplimiento y la carte Is
  podre guitar su sueldo, diner° y?Arles sin fries advertencia.
    Nay Giros requisitos legates. Es recomendable qua Hams a un ebogado inmedietemente. Si no conoce a un abogado, puede flamer a un servIcio de
  remision a abogados. Si no puede pager a un abogado,es posible quo cumpte cantos requisitos pare obtener servicios legates gratuitos de un
  programs de servkios legates sin fines de lucre. Puede encontrar estos grupos sin fines de lucro en el silk web de California Legal Services,
 (www.lawhelpcalifornia.org), on at Centro de Ayuda de las Ccules de California,(www.sucorte.ce.gov)0 portiendose en contacto con la cone o el
  coleglo de abogados locales. AVISO:Potley, la carte(lone derecho a =lamerlas cuotas y los costos exentos par imponer un gravamen sobre
  cualquier recuperaclon de $10,0006 mes de valor recibida medente un acuerdo o use concesion de arbitrate en un caso de derecho civil. Tiene quo
  pager at gravamen de la code antes de qua le code puede desechar at caso.
 The name and address of the court is:                                                      CASE NUMBER:
                                                                                           (Namara dal Casa):
(El nombre y direccion de la code es):
   Hayward Hall of Justice                                                                  22CV019279
  24405 Amador Street
  Hayward CA 94544
 The name,address, and telephone number of plaintiffs attorney,or plaintiff without an attorney, is:
(El nombna, Is direcelon ye!numero de teleono del abogado del demandante, o del demandante que no (lone abogado, es):
  Scott M. Harris 220906                                           925-426-2379
  4300 Black Ave., #1750 Pleasanton CA 94566                      Chad Finke, Executive Officer! Clerk of the Court
 DATE:                                                               Clerk, by                                       , Deputy
(Fecha) 10/11f2022                                                   (Secretarto)                    G. Fu           ( Adjunto)
(For proof ofservice ofthis summons, use Proof of Service of Summons (form POS-010).)
(Pare prueba de entrega de esta citation use of formulario Proof of Service of Summons,(POS-010)).
                                NOTICE TO THE PERSON SERVED:You are served
                                9.      I as an individual defendant.
                                2.      I as the person sued under the fictitious name of(specify):


                                      3.       I   on behalf of(specify):

                                           under. I      I CCP 416.10(corporation)                                 CCP 416.60(minor)
                                                           CCP 416.20(defunct corporation)                         CCP 416.70(conservatee)
                                                           CCP 416.40(association or partnership)                  CCP 416.90(authorized person)
                                                    I I other (specify):
                                      4.           by personal delivery on (date):
                                                                                                                                                      Page 1 of 1
 Form Adopted for Mandatory Use                                                                                                Code of CM Procedure §§ 4122D,465
   Judicial Council of California
                                                                       SUMMONS
                                                                                                                                              www.courtinfo.cagov
  SUM-100 [Rey. July 1, 2009J



                                                                                                                                 EXHIBIT A - 000007
                    Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 5 of 15


                                                                                                                                 PLD-PI-001
 ATTORNEY OR PARTY WITHOUT ATTORNEY(Name. state Bar number, and adrintaa):
                                                                                                            FOR COURT USE ONLY
  Scott M. Harris 220906
  Harris Law, A Professional Law Corporation
  4300 Black Ave.,#1750
  Pleasanton CA 94566                                                                              ELECTRONICALLY FILED
           TELEPHONE NO: 925-426-2379
 BMA1L ADDRESS(Opliona0: scott.harris@harrislawcorp.com
                                                              FAX NO.(Opitona0: 925-426-9313       Superior Court of California,
    ATTORNEY FOR Wan* Kim Christiansen                                                                 County of Alameda
 SUPERIOR COURT OF CAUFORNIA, COUNTY OF Alameda
  STREET ADDRESS: 24405 Amador Street
                                                                                                   10/0712022 at 01:48:27 PM
  MAIUNG ADDRESS:
                                                                                                            By: Agela Linhares,
art AND ZIP CODE' Hayward 94544
                                                                                                               Deputy Clerk
   BRANCH NAME: Hayward Hall of
                                Justice
  PLAINTIFF: Kim Christiansen
DEFENDANT: Kimberly-Clark Corporation; Target Corporation
=1 DOES 1 TO 21
  COMPLAINT—Personal Injury, Property Damage, Wrongful Death                                 CASE NUMBER:

  El AMENDED(Number):
  Type(check all that apply):
 r—i      MOTOR VEHICLE          F71 OTHER (specify): products liability
        I—I Property Damage -      1    1 Wrongful Death
       1-71 Personal Injury       E-1 Other Damages(specify):                                    22CV01 9279
  Jurisdiction (check all that apply):
-I 1 ACTION IS A LIMITED CIVIL CASE
          Amount demanded El does not exceed $10,000
                                    ri
                                     exceeds $10,000, but does not exceed $25,000
 1-71 ACTION IS AN UNLIMITED CIVIL CASE(exceeds $25,000)
 r--7     ACTION IS RECLASSIFIED by this amended complaint
         I—I from limited to unlimited
       - 1 1 from unlimited to limited
1. Plaintiff(name or names): Kim Christiansen
     alleges causes of action against defendant(name or names):
    Kimberly-Clark Corporation; Target Corporation
2. This pleading, Including attachments and exhibits, consists of the following number of pages:
3. Each plaintiff named above is a competent adult
     a. CD except plaintiff(name):
              (1)1= a corporation qualified to do business in California
              (2) I—I an unincorporated entity(describe):
              (3)I—I a public entity(describe):
              (4)=a minor EJ an adult
                       (a)        for whom a guardian or conservator of the estate or a guardian ad Rem has been appointed
                      (b)          other(specify):
                 (5)       other(specify):
     b.           except plaintiff(name):
                 (1)(—I a corporation qualified to do business in California
                 (2)I= an unincorporated entity(describe):
                 (3)71 a public entity(describe):
                 (4)       a minor 71 an adult
                          (a)       J for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                         (b)F-1 other(specify):
         (5)       other(specify):
ni Information about additional plaintiffs who are not competent adults is shown In Attachment 3.
                                                                                                                                       Page 1 013
 Form Approved for Optional Use
   Judicial Council of California                   COMPLAINT—Personal Injury, Property                             Code of CND Procedure.I 425.12
                                                                                                                                 mny.courfs.ce.gov
PLD-PI-001(Rev. January 1. 20071                         Damage, Wrongful Death




                                                                                                                  EXHIBIT A - 000008
                   Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 6 of 15


                                                                                                                             PLD-PI-001
SHORT TITLE:                                                                                  CASE NUMBER
Christiansen v Kimberly Clark Corporation; Target

4. 11 Plaintiff (name):
      is doing business under the fictitious name (specify):

        and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
  a. =except defendant(name): Kimberly-Clark Corporation c. ri except defendant(name):
       (1)ri a business organization, form unknown               (1)(
                                                                    - 1 a business organization,form unknown
       (2)rql a corporation                                      (2)ri a corporation
       (3)= an unincorporated entity (describe):                 (3)= an unincorporated entity (describe):

           (4)EJ a public entity(describe):                                 (4)        a public entity(describe):

           (5)            other(specify):                                              other(specify):




   b. IM except defendant(name):Target Corporation                        I 7 except defendant(name):
                                                                       d. -
       (1)1
          -  1 a business organization,form unknown                         (1)ri a business organization,form unknown
       (2)[Vi a corporation                                                 (2) -
                                                                                1 7 a corporation
       (3)1 -1 an unincorporated entity (describe):                         (3)= an unincorporated entity (describe):

           (4)            a public entity(describe):                        (4)=a public entity(describe):


           (5)ni other(specify):                                            (5)= other(specify):

   :
   1 ::1 Information about additional defendants who are not natural persons is contained in Attachment 5.
6. The true names of defendants sued as Does are unknown to plaintiff.
   a. r2=1 Doe defendants(specify Doe numbers): 1-21                                  were the agents or employees of other
           named defendants and acted within the scope of that agency or employment.
   b. 1-71 Doe defendants(specify Doe numbers): 1-21                                  are persons whose capacities are unknown to
           plaintiff.
7.   r---1Defendantswho are joined under Code of Civil Procedure section 382 are (names):



8. This court Is the proper court because
   a. FT at least one defendant now resides in its jurisdictional area.
   b.       the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
   c. (7—I Injury to person or damage to personal property occurred In its jurisdictional area.
   d.        other(specify):




9. ni Plaintiff is required to comply with a claims statute, and
   a.     has complied with applicable claims statutes, or
   b. = is excused from complying because(specify):




PLD-PI-001 (Rev. January I. 2007]                  COMPLAINT—Personal Injury, Property                                            Page 2013
                                                        Damage, Wrongful Death




                                                                                                                EXHIBIT A - 000009
                   Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 7 of 15


                                                                                                                              PLD-PI-001
SHORT TITLE:                                                                                 CASE NUMBER:
Christiansen v Kimberly Clark Corporatiok Target

10. The following causes of action are attached and the statements above apply to each each complaint must have one or more
   causes ofaction attached):
   P.         Motor Vehicle
      b. 1        General Negligence
      c.        I intentional Tort
      d, I      I Products Liability
      e. I        Premises Liability
      1.   ni Other(specify):


 11. Plaintiff has suffered
• a.            wage loss
      b.          loss of use of property
      C.          hospital and medical expenses
      d.   Ill general damage
               property damage
      f. 1-7-1 loss of earning capacity
      g. 1   1 other damage,(speci6)




12.          The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
      a.        listed in Attachment 12,
      b.        as follows:




13. The relief sought in this complaint is within the jurisdiction of this court.




14.Plaintiff prays for judgment for costs of.suit; for such relief as is fair, just, and equitable; and for
    a. (1)1 se 1 compensatory damages
       (2)1---1 punitive damages
        The amount of damages Is in cases for personal injury of wrongful death, you must check (1)):
       (1)1 1 j according to proof
       (2)       In the amount of: $
15.      The.paragraphs of this complaint alleged on information and belief are as follows 'specify paragraph nurnbei :




Date:        / )9.1?
Scott M. Harris
                            (TYPE OR PRINT NAME)                                                        F PLAINTIFF OR ATTORNEY)



PLO-P1•091 May, January 1. 20071                   COMPLAINT—Personal Injury, property                                             Paso 3 of 3
                                                        Damage, Wrongful Death




                                                                                                               EXHIBIT A - 000010
                  Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 8 of 15


                                                                                                                             PLD-PI-001(2)
  SHORT TITLE:                                                                                  CASE NUMBER

Christiansen v Kimberly Clark Corporation; Target


          First                               CAUSE OF ACTION                     General Negligence                    Page
                          (number)
           ATTACHMENT TO I v I Complaint ni Cross - Complaint
         (Use a separate cause ofaction form for each cause ofaction.)

           GN-1. Plaintiff(name):Kim Christiansen

                     alleges that defendant(name):Kimberly-Clark Corporation; Target Corporation




                               2:1 Does 1                   to 21

                     was the legal(proximate)cause of damages to plaintiff. By the following acts or omissions to act, defendant
                     negligently caused the damage to plaintiff
                     on (date): 10/08/20
                     at (p/ace):Alameda County

                 (desaiption ofreasons for liability):
          Plaintiff purchased Defendants product, Cottonelle Flushable Wipes, which caused personal injuries to Plaintiff.




                                                                                                                                        Pape 1 oft
  Form Approved for Optional Use                                                                                      Code of Clvi Procedure 426.12
    JudIcIal Cound of Cafifortea            CAUSE OF ACTION—General Negligence                                                 winveourtinfo.cagov
PLO-P1401(2)(Roe. January I. 2007]




                                                                                                                  EXHIBIT A - 000011
                  Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 9 of 15


                                                                                                                                PLD-PI-001(5)
 SHORT TITLE:                                                                                   CASE NUMBER:

Christiansen v Kimberly Clark Corporation; Target


          Second                                CAUSE OF ACTION —Products Liability                                   Page
                        (number)
          ATTACHMENT TO I=1 Complaint = Cross - Complaint
         (Use a separate cause of action form for each cause of action.)
           Plaintiff (name):Kim Christiansen

           Prod. L-1. On or about (date):10/08/20                                 plaintiff was injured by the following product:
          Cottonelle Flushable Wipes



           Prod. L-2. Each of the defendants knew the product would be purchased and used without Inspection for defects.
                         The product was defective when It left the control of each defendant. The product at the time of injury
                         was being
                       7   1 u• sed in the manner Intended by the defendants.
                        1 11 used in the manner that was reasonably foreseeable by defendants as invoMng a substantial danger not
                        -
                                readily apparent. Adequate warnings of the danger were not given.
           Prod. L-3. Plaintiff was a
                        EKI p• urchaser of the product.                          = user of the product.
                       =        bystander  to the use of the product.            = other (specify):

           PLAINTIFF'S INJURY WAS THE LEGAL(PROXIMATE) RESULT OF THE FOLLOWING:
           Prod. L- 4. 171 C• ount One—Strict liability of the following defendants who
                           a. =I manufactured or assembled the product (names):
                                    Kimberly-Clark Corporation

                                                 r7-1 Does 1                  to 21
                                     b F7-I designed and manufactured component parts supplied to the manufacturer(names):
                                            Kimberly-Clark Corporation


                                             r7-1 Does 1                      to 21
                                     c M sold the product to the public (names):
                                         Kimberly-Clark Corporation;Target Corporation


                                   M Does 1                    to 21
           Prod. L-5 = Count Two—Negligence of the following defendants who owed a duty to plaintiff (names):
                       Kimberly-Clark Corporation; Target Corporation

                                                  17-1 Does 1                  to 21
           Prod. L-6      a] Count Three—Breach of warranty by the following defendants (names):
                                     Kimberly-Clark Corporation; Target Corporation

                                       [ 1 Does 1
                        a. 1=I who breached an implied warranty
                        b.         who breached an express warranty which was
                                  = written         I     oral
          Prod. L-7 1E3 The defendants who are liable to plaintiffs for other reasons and the reasons for the liability are
                             listed In Attachment-Prod. L-7 =I as follows:
                             TBD

                                                                                                                                           Page 1011
  Fern Approved for Opdonal Use                  CAUSE OF ACTION —Products Liability                                    Code of CM!Pfocedure,§425.12
    Jutlidal Council of California                                                                                                roww.couninfacagov
PLD-PHX,1(5)(Rev. January 1, 20071




                                                                                                                     EXHIBIT A - 000012
           Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 10 of 15


                                                                                             Reserved for Clerk' s Fi le Stamp
          SUPERIOR COURT OF CALIFORNIA
               COUNTY OF ALAMEDA
COURTHOUSE ADDRESS:

Hayward Hall of Justice
                                                                                                        FILED
                                                                                               Superior Court of California
                                                                                                   County of Alameda
24405 Amador Street, Hayward, CA 94544
                                                                                                      10/07/2022
PLAINTIFF(S):
                                                                                         ciaa Hike . Execute °mix Par ortie coin
Kim Christiansen                                                                          By            A. Lin hares    Deputy
DEFENDANT(S):

Kimberly-Clark Corporation et al
                                                                                         CASE NUMBER:
                    NOTICE OF CASE ASSIGNMENT
                                                                                        22CV019279

                     THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Pursuant to Rule 3.734 of the California Rules of Court and Title 3 Chapter 2 of the Local Rules of the Superior
Court of California, County of Alameda, this action is hereby assigned by the Presiding Judge for all purposes to:

                      Dennis Hayashi
        ASSIGNED JUDGE:
        DEPARTMENT:   518
        LOCATION:     Hayward Hall of Justice
                      24405 Amador Street, Hayward, CA 94544
        PHONE NUMBER: (510)690-2727
        FAX NUMBER:
        EMAIL ADDRESS:         Dept518@alameda.courts.ca.gov

Under direct calendaring, this case is assigned to a single judge for all purposes including trial.

Please note: In this case, any challenge pursuant to Code of Civil Procedures section 170.6 must be exercised
within the time period bylaw.(See Code of Civ. Proc. §§ 170.6, subd. (a.)(2) and 101.3)

NOTICE OF NONAVAILABILITY OF COURT REPORTERS: Effective June 4, 2012, the court will not provide a
court reporter for civil law and motion hearings, any other hearing or trial in civil departments, or any afternoon
hearing in Department 201 (probate). Parties may arrange and pay for the attendance of a certified shorthand
reporter. In limited jurisdiction cases, parties may request electronic recording. Amended Local Rule 3.95 states:
"Except as otherwise required by law, in general civil case and probate departments, the services of an official
court reporter are not normally available. For civil trials, each party must serve and file a statement before the trial
date indicating whether the party requests the presence of an official court reporter."

GENERAL PROCEDURES

Following assignment of a civil case to a specific department, all pleadings, papers, forms, documents and writings
can be submitted for filing at either Civil Clerk's Office, located at the Rene C. Davidson Courthouse, Room 109,
1225 Fallon Street, Oakland, California, 94612, and the Hayward Hall of Justice, 24405 Amador Street, Hayward,
California, 94544 and through Civil e-filing. Information regarding Civil e-filing can be found on the courts website.
All documents, with the exception of the original summons and the original civil complaint, shall have clearly typed
on the face page of each document, under the case number, the following:



                                          NOTICE OF CASE ASSIGNMENT
ACSC (Rev. 10/21)                                                                                             Page 1 of 2




                                                                                                       EXHIBIT A - 000013
          Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 11 of 15



                             ASSIGNED FOR ALL PURPOSES TO
                             JUDGE Dennis Hayashi
                             DEPARTMENT 518
All parties are expected to know and comply with the Local Rules of this Court, which are available on the court's
website at http://www.alameda.courts.ca.gov/Pages.aspx/Local-Rules(1) and with the California Rules of Court, which
are available at www.courtinfo.ca.gov.

Parties must meet and confer to discuss the effective use of mediation or other alternative dispute processed (ADR)
prior to the Initial Case Management Conference. The court encourages parties to file a "Stipulation to Attend ADR and
Delay Initial Case Management Conference for 90 Days." The court's website contains this form and other ADR
information. If the parties do not stipulate to attend ADR, the parties must be prepared to discuss referral to ADR at the
Initial Case Management Conference.

COURT RESERVATIONS

The use of the Court Reservation System (CRS)is now mandated in many civil courtrooms within the Alameda County
Superior Court. Instead of calling or emailing the courtroom to make a reservation, parties with a case assigned to a
courtroom using CRS are directed to utilize CRS to make and manage their own reservations, within parameters set by
the courtrooms. CRS is available 24 hours a day, seven days a week and reservations can be made from a computer
or smart phone. Please note, you are prohibited from reserving more than one hearing date for the same motion.

Prior to scheduling any motion on CRS, including any Applications for Orders for Appearance and Examination, or
continuing any motion, please review the online information (if any)for the courtroom in which you are reserving. There
may be specific and important conditions associated with certain motions and proceedings. Information is available on
the court's eCourt Public Portal at www.eportal.alameda.courts.ca.gov.



                                                      Chad Finke, Executive Officer / Clerk of the Court



                                                                                A. Linhares, Deputy Clerk
                                                                  By




                                               NOTICE OF CASE ASSIGNMENT
    ACSC (Rev. 10/21)                                                                                          Page 2 of 2



                                                                                                    EXHIBIT A - 000014
                Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 12 of 15

                                                                                                      Reserved for Clerk's File Stamp
               SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF ALAMEDA                                                                           FILED
  COURTHOUSE ADDRESS:
                                                                                                   Superior Court of California
                                                                                                       County of Alameda
 Hayward Hall of Justice
 24405 Amador Street, Hayward, CA 94544                                                                     10/07/2022
  PLAINTIFF:                                                                               C lad F Ike , Elect die Office r IC t r1; otti e Co t r
  Kim Christiansen                                                                                            A. Linhares               Deputy
  DEFENDANT:
                                                                                             By.
  Kimberly-Clark Corporation et al
                                                                                            CASE NUMBER:
               NOTICE OF CASE MANAGEMENT CONFERENCE                                         22CV019279
TO THE PLAINTIFF(S)/ATTORNY(S) FOR PLAINTIFF(S) OF RECORD:

You are ordered to serve all named defendants and file proofs of service on those defendants with the court within 60 days of
the filing of the complaint (Cal. Rules of Court, 3.110(b)).

Give notice of this conference to all other parties and file proof of service.

Your Case Management Conference has been scheduled on:


                                  Date:   02/22/2023        Time:   230 PM       Dept.:   518
                                  Location:   Hayward Hall of Justice
                                              24405 Amador Street, Hayward, CA 94544

TO DEFENDANT(S)/ATTORNEY(S) FOR DEFENDANT(S) OF RECORD:

The setting of the Case Management Conference does not exempt the defendant from filing a responsive pleading as
required by law, you must respond as stated on the summons.

TO ALL PARTIES who have appeared before the date of the conference must:

Pursuant to California Rules of Court, 3.725, a completed Case Management Statement (Judicial Council form CM-110)
must be filed and served at least 15 calendar days before the Case Management Conference. The Case Management
Statement may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record.
Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3.724.
Post jury fees as required by Code of Civil Procedure section 631.

If you do not follow the orders above, the court may issue an order to show cause why you should not be sanctioned
under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings or dismissal of the
action.

The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
Resolution, such as mediation or arbitration. Check the court's eCourt Public Portal for each assigned department's
procedures regarding tentative case management orders at https://eportal.alameda.courts.ca.qov.




Form Approved for Mandatory Use
Superior Court of California,               NOTICE OF
County of Alameda
                                  CASE MANAGEMENT CONFERENCE
ALA CIV-100[Rev. 10/2021]


                                                                                                                       EXHIBIT A - 000015
         Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 13 of 15


                                                                                 Reserved for Clerk's File Stamp
           SUPERIOR COURT OF CALIFORNIA
                COUNTY OF ALAMEDA •
COURTHOUSE ADDRESS:                                                                       FILED
                                                                                Superior Court of California
Hayward Hall of Justice                                                             County of Alameda
24405 Amador Street, Hayward, CA 94544
                                                                                       10/07/2022
PLAINTIFF/PETITIONER:                                                    Ciad F lake . Emu tlie Ortteric tat on e c urt
Kim Christiansen                                                          By.            A. Linhares          Deputy
DEFENDANT/RESPONDENT:
Kimberly-Clark Corporation et al
                                                                         CASE NUMBER:
                        CERTIFICATE OF MAILING                           22CV019279

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Notice of Case Management Conference upon
each party or counsel named below by placing the document for collection and mailing so as to cause it to
be deposited in the United States mail at the courthouse in Oakland, California, one copy of the original
filed/entered herein in a separate sealed envelope to each address as shown below with the postage
thereon fully prepaid, in accordance with standard court practices.




   Scott Michael Harris
   Harris Law, APLC
   4300 Black Ave. 1750
   Pleasanton, CA 94566




                                                   Chad Finke, Executive Officer / Clerk of the Court

Dated: 10/10/2022                                   By:

                                                                 A. Li nh ares,Deputy Clerk




                                    CERTIFICATE OF MAILING

                                                                                              EXHIBIT A - 000016
                    Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 14 of 15


                                 - DO NOT FILE WITH THE COURT-                       CIV-050
     -UNLESS YOU ARE APPLYING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE§ 585 -
                                                                           TELEPHONE NO.:                        FOR COURT USE ONLY
ATTORNEY OR PARTY WITHOUT ATTORNEY(Name and Address):                      925-426-2379
Scott M. Harris 220906
Harris Law, A Professional Law Corporation
4695 Chabot Drive, Suite 200
Pleasanton CA 94588

    ATTORNEY FOR (name): Kim Christiansen

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Alameda
 STREET ADDRESS:24405 Amador Street
 MAILING ADDRESS:
CITY AND ZIP CODE: Hayward            94544
     BRANCH NAME: Hayward             Hall of Justice
  PLAINTIFF: Kim Christiansen
DEFENDANT: Kimberly-Clark Corporation; Target Corporation
                                        STATEMENT OF DAMAGES                                      CASE NUMBER:

                                    (Personal Injury or Wrongful Death)                           22CV019279

To(name of one defendant only): Kimberly-Clark Corporation; Target Corporation
Plaintiff(name of one plaintiff only): Kim Christiansen
seeks damages in the above-entitled action, as follows:
                                                                                                                                   AMOUNT
1. General damages
   a. V Pain, suffering, and inconvenience                                                                               $ 500,000
     b.            Emotional distress.                                                                                   $ 500,000
     C.            Loss of consortium
     d.            Loss of sociey and companionship (wrongful death actions only)
     e.           Other (specify)
     f.           Other (specify)

     g.           Continued on Attachment 1.g.
2. Special damages
   a. v Medical expenses (to date)                                                                                       $TBD
     b.            Future medical expenses(present value)                                                                $ TBD
     c.    s       Loss of earnings (to date)                                                                            $ TBD
     d.     v      Loss of future earning capacity (present value)                                                       $ TBD
     e.            Property damage

     f. -
        1 1 Funeral expenses (wrongful death actions only)
     g.            Future contributions (present value)(wrongful death actions only)
     h.            Value of personal service, advice, or training (wrongful death actions only)
                  Other (Specify)                                                                                        .$
                  Other (specify)
     k.           Continued on Attachment:2.1c

3-           Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of(specify)           $'
             when pursuing a judgment in the suit filed against you,
Date:     02/07/23
Scott M. Harris
                                                                                                        46'
                             :
                             .(TYPE OR PRINT RAME)                                          (SIGNATURE OF PLAINTIFF ORATTORNEy.FOR PLAINTIFF)

                                                            (PrOof of Service On reverse)                                                      -Patte ;Toil
                                                                                                                                                              •
Feitil Adopted for Mandatory Usti                            STATEMENT OF DAMAGES                                 tilde Of OW Procedure; §4426.11; 425.115
  Judicial Council of Califorpla
                                                        '(Personal Injury or Wrongful Death)                                            Iv*tv,qoutis,ed:ge4
 CIV-OSO may. January 1, 20071




                                                                                                                        EXHIBIT A - 000017
                  Case 4:23-cv-01095-KAW Document 1-1 Filed 03/10/23 Page 15 of 15


                                                                                                                                             CIV-050
     PLAINTIFF: Kim Christiansen                                                               CASE NUMBER:

   DEFENDANT: Kimberly-Clark Corporation; Target Corporation                                   22CV020999

                                                           PROOF OF SERVICE
(After having the other party served as described below, with any of the documents identified in item 1, have the person who served
 the documents complete this Proof of Service. Plaintiff cannot serve these papers.)
 1. I served the
    a.        Statement of Damages                  Other     (specify):
     b. on (name):
     c. by serving       FT    defendant          other (name and title or relationship to person served):
     d.       by delivery               at home             at business
        (1) date:
        (2) time:
        (3) address:
     e.       by mailing
        (1) date:
        (2) place:
2. Manner of service (check proper box):
     a.          Personal service. By personally delivering copies.(CCP § 415.10)
     b.          Substituted service on corporation, unincorporated association (including partnership), or public entity. By
                 leaving, during usual office hours, copies in the office of the person served with the person who apparently was in charge
                 and thereafter mailing (by first-class mail, postage prepaid) copies to the person served at the place where the copies
                 were left.(CCP § 415.20(a))
     c.          Substituted service on natural person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
                 usual place of abode, or usual place of business of the person served in the presence of a competent member of the
                 household or a person apparently in charge of the office or place of business, at least 18 years of age, who was informed
                 of the general nature of the papers, and thereafter mailing (by first-class mail, postage prepaid) copies to the person
                 served at the place where the copies were left.(CCP §415.20(b))(Attach separate declaration or affidavit stating
                 acts relied on to establish reasonable diligence in first attempting personal service.)
     d.          Mail and acknowledgment service. By mailing (by first- class mail or airmail, postage prepaid)copies to the person
                 served, together with two copies of the form of notice and acknowledgment and a return envelope, postage prepaid,
                 addressed to the sender.(CCP § 415.30)(Attach completed acknowledgment of receipt.)
     e.          Certified or registered mail service. By mailing to an address outside California (by first-class mail, postage prepaid,
                 requiring a return receipt) copies to the person served.(CCP § 415.40)(Attach signed return receipt or other evidence
                 of actual delivery to the person served.)
    f.           Other (specify code section):
                         additional page is attached.
3. At the time of service I was at least 18 years of age and not a party to this action.
4. Fee for service: $
5. Person serving:
    a.        California sheriff, marshal, or constable                      f. Name, address and telephone number and, if applicable,
    b.        Registered California process server                               county of registration and number:
    c.        Employee or independent contractor of a registered
              California process server
    d.        Not a registered California process server
    e.        Exempt from registration under Bus. & Prof. Code
             § 22350(b)
I declare under penalty of perjury under the laws of the                    (For California sheriff, marshal, or constable use only)
State of California that the foregoing is true and correct.                 I certify that the foregoing is true and correct.

Date:                                                                                  Date:


                          (SIGNATURE)                                                                         (SIGNATURE)


CIV-050(Rev. January 1,2007!                                  PROOF OF SERVICE                                                                 Page 2 of 2
                                                                                                                Code of Civil Procedure §§ 425.11,425.115
                                                            (Statement of Damages)




                                                                                                                      EXHIBIT A - 000018
